Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 1 of 50 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION JUDG E H ART

BRIANNA JENKINS, by her father and
next friend, DONNELL DAVIS,

MAGISTRATE “unce asii asinian

 

Plaintiffs,

Vv.

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BOARD OF EDUCATION OF THE ) .
CITY OF CHICAGO, a body politic and —) ye re
corporate, d/b/a Chicago Public Schools, —) DOCKETER a
Individually, and by and through its agents, ) i we
servants or employees at Fenger High ) OCT 23 200% eo
School, including DUSTIN BERRIEN; and ) mi a
FENGER HIGH SCHOOL, Individually, _) :
by and through its agents, servants, )
including DUSTIN BERRIEN; AND )
DUSTIN BERRIEN, Individually, )
)
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Defendants.
JANICE OLLARVIA, MR. EUGENE
HENRY, MS. NICHOLS, MS. BERRIEN,
and WINSTON HALL, DONDELAYO
WHITE, SANDRA SLOANE,
MS. STEPHANIE DAVIS
Respondents-in-Discovery.

NOTICE OF FILING

To: Mr. Larry R. Rogers, Jr.
Power, Rogers & Smith, P.C.
70 West Madison Street, Suite 5500
Chicago, Ilinois 60602

PLEASE TAKE NOTICE that on Tuesday, October 21, 2003, | filed with the Clerk of the
UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS,
EASTERN DIVISION, the attached NOTICE OF REMOVAL, a copy of which is hereby scrved
upon you.

a

 

 

Joseph D. Grrsent, Assistant General Counsel

 
Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 2 of 50 PagelD #:2

Ruth M. Moscovitch, General Counsel
Joseph D. Gergeni, Assistant General Counsel
Chicago Board of Education

125 South Clark Street, Suite 700

Chicago, Dlinois 60603

(773) 553-1700

Attorney No. 91206

 
Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 3 of 50 PagelD #:3

CERTIFICATE OF SERVICE

 

I, Joseph D. Gergeni, an attorney, certify that [ served this notice by mailing a copy to the
above mentioned address and depositing the same in the U.S. Mail receptacle at 125 South Clark
Street, Chicago, Iinois 60603 before 5:00 p.m. on this 21th day of October, 2003 with proper

postage prepaid.

 

Joseph D. AGergeni, Assistant General Counsel

 
 

Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 4 of 50 PagelD #:4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BRIANNA JENKINS, by her father and

next friend, DONNELL DAVIS,

BOARD OF EDUCATION OF THE

JUDGE HART

O3C 7428

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Mag! OP yn RATE J IDSE A nHTMAAN

Plaintiffs, No.

Vv.

CITY OF CHICAGO, a body politic and

corporate, d/b/a Chicago Public Schools,
Individually, and by and through its agents,
servants or employces at Fenger High

FENGER HIGH SCHOOL, Individually,
by and through its agents, servants,
including DUSTIN BERRIEN; AND
DUSTIN BERRIEN, Individually,

Defendants.

JANICE OLLARVIA, MR. EUGENE
HENRY, MS. NICHOLS, MS. BERRIEN,
and WINSTON HALL, DONDELAYO
WHITE, SANDRA SLOANE,

MS. STEPHANIE DAVIS

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School, including DUSTIN BERRIEN; and ) boy i

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Respondents-in-Discovery.
NOTICE OF REMOVAL

Defendant Board of Education of the City of Chicago hereby removes this cause of action

under 28 U.S.C.§ 1441 (a), (b) and (c) and §1446, from the Circuit Court of Cook County, Tlinois
to the United States District Court for the Northern District of Ilinois, Eastern Division. The
grounds for this removal are:

1.

On September 3, 2003, Plaintiffs filed their Compliant in the Circuit Court of Cook County,

Illinois, and thcir case was dockected as 03 L 10586. A copy of their compliant, served on the
Board on September 24, 2003, is attached as Exhibit A.

2,

In Counts L-IV of the Complaint, Jenkins asserts that the Board and Fenger High School

violated her right to be free of sexual discrimination under Title Lx.

3.

In Count V-VIII, Jenkins seeks redress against Dustin Berrien, again citing Title LX.
Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 5 of 50 PagelD #:5

4, Count [X presents a state-law claim under the Illinois Family Expense Act.

5. This Court has jurisdiction to Jenkins’ claims arising under the United States Constitution
through 28 U.S.C. §1331.

6. The Board is entitled to remove the constitutional tort claims under 28 U.S.C. §1441(c).
7. This notice of Removal is timely under 28 U.S.C. $1446 (b).

Thus, the Board respectfully asks that the matter pending in the Circuit Court of Cook
count, THinois, be removed to the United States District Court for the Northern District of Tlinois,

Eastern Division.

Respectfully submitted,

FAX

Joseph D./Gergeni
Assistant/General Counsel

 

Ruth M. Moscovitch, General Counsel
Chicago Board of Education

125 South Clark Street, Suite 700
Chicago, Illinois 60603

(773) 553-1700

Attorney No. 91206

 

 
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION LAW

 

BRIANNA JENKINS, by her father and next friand, DONNELL
DAVIS,
Plaintiffs,

-V- No. 03 L 010586

BOARD OF EDUCATION OF THE CITY OF CHICAGO,
individually, and as principal and/or employer of DUSTIN PLEASE SEE REVERSE FOR SERVICE
BERRIEN; AND DUSTIN BERRIEN, Individually,

Defandants.
JANICE OLLARVIA, MR. EUGENE HENRY, M5. NICHOLS, MS. Dee
BERRIEN, and WINSTON HALL, DONDELAYO WHITE, SANDRA vy
SLOANE, MS. STEPHANIE DAVIS, X SEP 2 4 28 mF

Respondents-in-Discovery.

 

 

To each defendant:

YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file appearance, in the office of the Clerk of this Court at the following locations:
& . Richard J. Daley Center, 50 W. Washington, Room 801, Chicago, Illinois 60602

() District 2 - Skokie O District 3 - Rolling Meadows O District 4 - Maywood
5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.
Skokie, IL 60077 Rolling Maadows, IL 60008 Maywood, [L 60153

OQ CDistrict 5 - Bridgeview QO District 6 - Markham
10220 &. 76th Ave. 164501 5. Kedzie Pkwy.

Bridgeview, IL 60455 Markham, IL. 60426

You must file within 30 days after service of this summons, nat counting the day of service. IF YOU FAIL TO DO SQ,
A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF REQUESTED IN THE COMPLAINT.

To the officer:

This summons must be returned by the officer or othar person to whom it was given fer service, with
endorsement of service and fees, If any, immediately after service. If service cannot be made, this summons shall
be returned so endorsed. This summons may not be served later than 30 days after its datgQypy: ° eo

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Name POWER ROGERS & SMITH, P.C. WITNESS,
Larry R. Rogers, Jr. 4
Attorney for Plaintiff(s)
Address 70 West Madison, Suite 5500
City Chicago, Illinois 60602
Telephone (312) 236-9381
Atty. No. 31444 Date of service:
(To be inserted by offi
“Service by Facsimile Transmission wil] ba accepted at: 31 2-236-0920_

 

(Area Gode) (Facsimile Telephone Number)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 
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SUMMGBiSe: 1:03-cv-07428 DocunAbhAS# SUMMONSO/21/03 Page 7 of 50 PagelD Rev. 9/3/99) CCG 0001

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION LAW

 

BRIANNA JENKINS, by her father and next friend, DONNELL

DAVIS,
Plaintiffs,

-V- No. 03 L 010586

BOARD OF EDUCATION OF THE CITY OF CHICAGO,
Individually, and as principal and/or employer of DUSTIN PLEASE SEE REVERSE FOR SERVICE
BERRIEN; AND DUSTIN BERRIEN, Individually,
Defendants.
JANIGE OLLARVIA, MR. EUGENE HENRY, MS. NIGHOLS, MS.
BERRIEN, and WINSTON HALL, DONDELAYO WHITE, SANDRA
SLOANE, MS. STEPHANIE DAVIS,
Respondents-in-Biscovery.

 

SUMMONS

To each defendant:

YOU ARE SUMMONED and required to flie an answer to the complaintin this case, a copy of which is herata
attached, or otherwise file appearance, in the office of the Clerk of this Court at the following locations:
a Richard J. Daley Center, 50 W. Washington, Room 801, Chicago, Illinois 60602

O District 2 -Skokle QO District 3 - Rolling Meadows O District 4 - Maywood
5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Ave.
Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153

District 5 - Bridgeview oO District 6 - Markham
10220 S. 76th Ave. 16501 S. Kedzie Pkwy.

Bridgaview, IL 60455 Markham, IL 60426

You must file within 30 days after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO,
A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE RELIEF REQUESTED IN THE COMPLAINT.

To the officer:

This summons must be returned by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
be returned so endorsed. This summons may not be served later than 30 days after Its date.

 

 

Name POWER ROGERS & SMITH, P.C. WITNESS, ee s 7 BON Se
Larry R. Rogers, Jr. sc

Attarney for Plaintiff(s) Os

Address 70 West Madigon, Suite 5500 Ciark of

City Chicago, Iilingis 60602
Telephone (312) 236-9381
Atty. No. 31444

 

“Service by Facsimile Transmission wil] be accepted at: 342-236-0920
(Area Code) (Facsimile Telaphone Number)

 

—~n

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 
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STATE OF ILLINOIS =)

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COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS 5 =
COUNTY DEPARTMENT, LAW DIVISION ”

BRIANNA JENKINS, by her father and
next friend, DONNELL DAVIS,
Plaintiffs,

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-V- )
BOARD OF EDUCATION OF THE CITY OF) JURY DEMANE# PEREGNAL [hs
CHICAGO, a body politic and corporate, d/b/a )
Chicago Public Schools, Individually, and }
by and through its agents, servants or }
employees at Fenger High School, including )
DUSTIN BERRIEN; and FENGER HIGH }
SCHOOL, Individually, by and through its )
agents, servants, including DUSTIN BERRIEN;}
and DUSTIN BERRIEN, individually, )

Defendants )

JANICE OLLARVIA, MR. EUGENE HENRY, )
MS. NICHOLS, MS. BERRIEN, and )
WINSTON HALL, DONDELAYO WHITE )
SANDRA SLOANE, MS, STEPHANIE DAVIS. }
Respondents-in-Discovery. }

COMPLAINT AT LAW

‘NOW COMES Plaintiff, BRIANNA JENKINS, by and through her father, DONNELL
DAVIS, and DONNELL DAVIS, Individually, complaining of Defendants BOARD OF
EDUCATION OF THE CITY OF CHICAGO, a body politic and corporate, d/b/a Chicago
Public Schools, Individually, (hereafter "CHICAGO PUBLIC SCHOOLS); by and through
its agents, servants or employees at Fenger High School, including DUSTIN BERRIEN;
and FENGER HIGH SCHOOL, Individually, by and through its agents, servants, including
DUSTIN BERRIEN, and DUSTIN BERRIEN, individually, and.in support of said Complaint,
Plaintiffs state the following:

 
bjs « «Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 9 of 50 PagelD #:9

COUNT |
BRIANNA JENKINS
Negligence - CHICAGO PUBLIC SCHOOLS AND FENGER HIGH SCHOOL

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 5. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government fo operate, maintain, control and educate children attending
said schoo.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plainiiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contactec ihe minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9. ‘That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had
engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

 
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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior ta September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents atF ENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NIGHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counsefor MS. SANDRA SLOANE, Dean of Giris MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming inte contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linwied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevani, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

 
 

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOQLS, by and through its employees and/or agents, inciuding, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Pfaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 2002, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Iilinois common law, the Illinois Constitution and Title 'X.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendants, CHICASO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and
each of them, breached their duty in one or more of the following negligent
respects:

a. Allowed Defendant DUSTIN BERRIEN to have access to the minor Plaintiff,
BRIANNA JENKINS after learning of his inappropriate and/or sexual
advances toward her and other students; and/or

b. Allowed and/or Placed Defendant DUSTIN BERRIEN as substitute teacher
over the minor Plaintiff, BRIANNA JENKINS after learning of his
inappropriate and/or sexual advances toward her and other students; and/or

Cc. Allowed and/or Placed Defendant DUSTIN BERRIEN to remove BRIANNA

JENKINS from class after learning of his inappropriate and/or sexual
advances toward her and/or other students; and/or

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Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 12 of 50 PagelD #:12

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d. Was otherwise negligent.

24. Asa direct and proximate result of one or more of the sforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

29>. Asa direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. Asadirect and proximate result of ane of more of the aforedescribed acts and/or
omissions on the part of the Defendants DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next
friend, DONNELL DAVIS, demand that judgment be entered against Defendant(s},
CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and each of them, in an
amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

 
*,° Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 13 of 50 PagelD #:13

COUNT I
BRIANNA JENKINS
Wilful and Wanton Negligence
CHICAGO PUBLIC SCHOOLS AND FENGER HIGH SCHOOL

1. That on or about September 3, 2002, and ai all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 8. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal governmentto operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner,

7. That on or about September 3, 2002, and at ail times relevant, Defendant DUSTIN
BERRIEN contacted the minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8. That on or about September 3, 2002, and at ail times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

g. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had
engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

 

 
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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming inte contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linmed to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through iis employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.
 

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Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 15 of 50 PagelD #:15

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known,

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANIGE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counseior SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 2002, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Illinois common faw, the Ilfinois Constitution and Title {X.

That on or about September 3, 2002, and thereatter, at all times relevant,
Defendants, CHICAGG PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and
each of them, breached their duty in one or more of the following reckless, wilful,
and wanton negligent respects:

a. Allowed Defendant DUSTIN BERRIEN to have access to the minor Plaintiff,
BRIANNA JENKINS after learning af his inappropriate and/or sexual
advances toward her and other students; and/or

b. Allowed and/or Placed Defendant DUSTIN BERRIEN as substitute teacher
aver the minor Plaintiff, BRIANNA JENKINS after learning of his
inappropriate and/or sexual advances toward her and other students: and/or

C. Allowed and/or Placed Defendant DUSTIN BERRIEN to remove BRIANNA

JENKINS from class after learning of his inappropriate and/or sexual
advances toward her and/or other students; and/or

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d. Was otherwise negligent.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent naiure.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friend, DONNELL DAVIS, demand that judgment be entered against Defendant(s),
CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and each of them, in an
amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).
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COUNT ill
BRIANNA JENKINS
Negligent infliction of Emotional Distress
CHICAGO PUBLIC SCHOOLS AND FENGER HIGH SCHOOL

That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 S. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

That on or about September 3, 2002, and at ail times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over

‘the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

That on or about Seprermber 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contacted the minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

That prior to September 3, 2002, and at ail times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had

engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not timited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letier stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linnied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counsefor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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That after September 3, 2002, and at ail times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. FUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIG SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counsetor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 20072, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN's inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Illinois common faw, the Iilincis Constitution and Title [X.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendants, CHICASO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and
each of them, breached their duty in one or more of the following negligent
respects:

a. Allowed Defendant DUSTIN BERRIEN to have access to the minor Plaintiff,
BRIANNA JENKINS afier learning of his inappropnate and/or sexual
advances toward her and other students; and/or

b. Allowed and/or Placed Defendant DUSTIN BERRIEN as substitute teacher

over the minor Plaintiff, BRIANNA JENKINS after learming of his
inappropriate and/or sexual advances toward her and other students; and/or

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C. Allowed and/or Placed Defendant DUSTIN BERRIEN to remove BRIANNA
JENKINS from class after learning of his inappropriate and/or sexual
advances toward her and/or other students; and/or

d. Was otherwise negligent.

As a direct and proximate resuit of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friend, DONNELL DAVIS, demand that judgment be entered against Defendant(s),
CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and each of them, in an
amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

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GOUNT IV
BRIANNA JENKINS
Wilful and Wanton Negligent infliction of Emotional Distress
CHICAGO PUBLIC SCHOOLS AND FENGER HIGH SCHOOL

1. That on or about Sepiember 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 S. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That-on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

A. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contacted the minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

&, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had

engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL,

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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more ofits employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mather of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but net limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not lined to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately inditferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHGOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS, NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff aftar hear complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintitf
after her complaints were made known.

That on or about October 30, 2002, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Illinois common law, the Illinois Constitution and Title IX.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendants, CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and
each of them, breached their duty in one or more of the following negligent
respects:

a. Aliowed Defendant DUSTIN BERRIEN to have access to the minor Plaintiff,
BRIANNA JENKINS after learning of his inappropriate and/or sexual
advances toward her and other students; and/or

b. Allowed and/or Placed Defendant DUSTIN BERRIEN as substitute teacher

over the minor Plaintiff, BRIANNA JENKINS after learning of his
inappropriate and/or sexual advances toward her and other students; and/or

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CG. Allowed and/or Placed Defendant DUSTIN BERRIEN to remove BRIANNA
JENKINS from class after leaming of his inappropriate and/or sexuai
advances toward her and/or other students; and/or

d. Was otherwise negligent.

21. As adirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

22. Asa direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. Asa direct and proximate result of one or more of the aforedescribad acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next
friend, DONNELL DAVIS, demand that judgment be entered against Defendant(s},
CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and each of them, in an
amount in excess of FIFTY THOUSAND DOLLARS (350,000.00).

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COUNT V
BRIANNA JENKINS
Negligence - DUSTIN BERRIEN

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 S. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

Z. That on or about September 3, 2002, and at all times relevant, Defendant
CHIGAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

a, That on or about Septernber 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner,

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contactec ihe minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9, That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had

engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

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40. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

41. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and thraugh one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls M5.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

42. That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

43. That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but nat limited to Principal JANICE OLLARVIA, Assistant Principal MR.
FUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychoiogist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

44. That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linsied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUIGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

45. That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
orthwartthe inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her compiaints were made known.

That on or about October 30, 2002, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Illinois common law, the Illinois Constitution and Title |X.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendant, DUSTIN GERRIEN, breached his duty in one or more of the following
negligent respects:

a. Gained access to the minor Plaintiff, BRIANNA JENKINS and made
inappropriate and/or sexual advances toward her and other students; and/or

b. Acted as substitute teacher over the minor Plaintiff, BRIANNA JENKINS and

made inappropriate and/or sexual advances toward her and other students;
and/or

c. Removed BRIANNA JENKINS from class and made inappropriate and/or
sexual advances toward her and/or other students; and/or

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d. Was otherwise negligent.

21. Asadirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

22. As adirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. Asadirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he js entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friend, DONNELL DAVIS, demand that judgment be entered against Defendant, DUSTIN
BERRIEN, in an amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

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COUNT VI
BRIANNA JENKINS
Wilful & Wanton Negligence - DUSTIN BERRIEN

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 S. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on of about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

8. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contacted we minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

g. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had
engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

 
 

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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more ofits employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at ail times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linaied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not fimited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent ta the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Pincipal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Oefendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 2002, and at alltimes relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN's inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under (flinois common law, the tilinois Constitution and Title 1X.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendant, DUSTINGERRIEN, breached his duty in one or more of the following
negligent respects:

a. Gained access to the minor Plaintiff, BRIANNA JENKINS and made
inappropriate and/or sexual advances toward her and other students; and/or

b. Acted as substitute teacher over the minor Plaintiff, BRIANNA JENKINS and
made inappropriate and/or sexual advances toward her and other students;
and/or

c. Removed BRIANNA JENKINS from class and made inappropriate and/or
sexual advances toward her and/or other students; and/or

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d. Was otherwise negligent.

271. Asa direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s}, BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

22. Asa direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. Asadirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friend, DONNELL DAVIS, demand that judgment be entered against Defendant, DUSTIN
BERRIEN, in an amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

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COUNT Vi)
BRIANNA JENKINS
Negligent infliction of Emotional Distress - DUSTIN BERRIEN

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11270 S. Wailace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contactec wne minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had

engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

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That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linsied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 7002, and at ail times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
orthwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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16. That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

17. That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
Schoo! Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

48. Thaton or about October 30, 2002, and at ail times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

19. That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Itinois common law, the Hlinois Constitution and Title IX.

20. That on or about September 3, 2002, and thereafter, at all times relevant,
Defendant, DUSTIN SERRIEN, breached his duty in one or more of the following
negligent respects:

a, Gained access to the minor Plaintiff, BRIANNA JENKINS and made
inappropriate and/or sexual advances toward her and other students, and/or

b. Acted as substitute teacher over the minor Plaintiff, BRIANNA JENKINS and

made inappropriate and/or sexual advances toward her and other students;
and/or

G. Removed BRIANNA JENKINS from class and made inappropriate and/or
sexual advances toward her and/or other students; and/or

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d. Was otherwise negligent.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s}, BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

As a direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friend, DONNELL DAVIS, demand that judgment be entered against Defendant, DUSTIN
BERRIEN, in an amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00),

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COUNT Vill
BRIANNA JENKINS

Wilful and Wanton Negligent Infliction of Emotional Distress
DUSTIN BERRIEN

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
schoal known as FENGER HIGH SCHOOL, located at 11220 S. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

A. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about Sey.ember 3, 2002, and at all times relevant, Defendant DUSTIN
. BERRIEN contacted the minor Plaintiff by telephone and engaged in one or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an employee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had
engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

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10. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

41. That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Girls MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

12. That from approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

43, That on and after September 3, 2002 and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

14. That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not linnied to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

45. That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principat MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Frashman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwartthe inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN,

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after har complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the mirior Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 2002, and at ail times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed 4 duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under Ilinois common law, the iilinois Constitution and Titie (IX.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendant, DUSTIN GERRIEN, breached his duty in one or more of the following
negligent respects:

a. Gained access to the minor Plaintiff, BRIANNA JENKINS and made
inappropriate and/or sexual advances toward her and other students; and/or

b. Acted as substitute teacher over the minor Plaintiff, BRIANNA JENKINS and
made inappropriate and/or sexual advances toward her and other students;
and/or

c. Removed BRIANNA JENKINS from class and made inappropriate and/or
sexual advances toward her and/or other students; and/or

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d. Was otherwise negligent.

21. Asadirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

22. Asadirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. Asa direct and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next

friand, DONNELL DAVIS, demand that judgment be entered against Defendant, DUSTIN
BERRIEN, in an amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

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COUNT 1X
DONNELL DAVIS
Family Expense Act

1. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS owned, operated, maintained and controlled a
school known as FENGER HIGH SCHOOL, located at 11220 5. Wallace Street, in
the City of Chicago, County of Cook and State of Illinois and received monies from
the federal government to operate, maintain, control and educate children attending
said school.

2. That on or about September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS employed DUSTIN BERRIEN

3. That on or about September 3, 2002, and at ail times relevant, Defendant DUSTIN
BERRIEN was employed by CHICAGO PUBLIC SCHOOLS and worked at
FENGER HIGH SCHOOL.

4, That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN was a male teacher, assistant teacher and/or coach with authority over
the minor Plaintiff, BRIANNA JENKINS, a minor female student, born October 4,
1986.

5. That on or about September 3, 2002, and at all times relevant, Defendant BUSTIN
BERRIEN made sexual advances toward the minor Plaintiff.

6. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN touched the minor Plaintiff in a sexual and/or inappropriate manner.

7. That on or about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN contactec ine minor Plaintiff by telephone and engaged in ons or more
inappropriate and/or sexual conversations with the minor Plaintiff.

8. That on of about September 3, 2002, and at all times relevant, Defendant DUSTIN
BERRIEN acted in each of the afore described manners while an ermployee and/or
agent of CHICAGO PUBLIC SCHOOLS.

9, That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS knew or should have known that Defendant DUSTIN BERRIEN had

engaged in inappropriate behavior of a sexual nature with one or more students at
FENGER HIGH SCHOOL.

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That prior to September 3, 2002, and at ail times relevant, CHICAGO PUBLIG
SCHOOLS investigated allegations that Defendant DUSTIN BERRIEN had engaged
in behavior of an inappropriate and/or sexual nature with one or more students at
FENGER HIGH SCHOOL.

That prior to September 3, 2002, and at all times relevant, CHICAGO PUBLIC
SCHOOLS, by and through one or more of its employees and/or agents at FENGER
HIGH SCHOOL, including but not limited to, Assistant Principal MR. EUGENE
HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN,
mother of Defendant DUSTIN BERRIEN, and School Psychologist MR. WINSTON
HALL, Freshman counselor MS. SANDRA SLOANE, Dean of Gils MS.
DONDELAYO WHITE, and each of them, was sent a letter stating that Defendant
DUSTIN BERRIEN was harassing and/or acting in an inappropriate and/or sexual
manner with minor students at FENGER HIGH SCHOOL.

That fram approximately September 3, 2002 through January, 2003, Defendant
DUSTIN BERRIEN engaged in inappropriate and/or behavior of a sexual nature
with the minor Plaintiff.

That on and after September 3, 2002 and at ail times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through one or more of its employees,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EVGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, mother of Defendant DUSTIN BERRIEN, School Psychologist MR.
WINSTON HALL, Freshman Counselor SANDRA SLOANE, Teacher MS.
STEPHANIE DAVIS, and each of them, had the authority to prevent Defendant
DUSTIN BERRIEN from coming into contact with the minor Plaintiff.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS by and through its employees and/or agents,
including, but not tinued to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counsetor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, were deliberately indifferent
to the conduct of Defendant DUSTIN BERRIEN.

That on and after September 3, 2002, and at all times relevant, Defendant
CHICAGO PUBLIC SCHOOLS, by and through its employees and/or agents,
including, but not limited to Principal JANICE OLLARVIA, Assistant Principal MR.
EUGENE HENRY, Assistant Principal MS. NICHOLS and Assistant Principal MS.
BERRIEN, and School Psychologist WINSTON HALL Freshman Counselor
SANDRA SLOANE, Teacher MS. STEPHANIE DAVIS, did nothing to stop, prevent,
or thwart the inappropriate and/or sexual behavior of Defendant DUSTIN BERRIEN.

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That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being placed as a substitute teacher of the minor
Plaintiff after her complaints were made known.

That after September 3, 2002, and at all times relevant, Defendant CHICAGO
PUBLIC SCHOOLS, by and through its employees and/or agents, including, but not
limited to Principal JANICE OLLARVIA, Assistant Principal MR. EUGENE HENRY,
Assistant Principal MS. NICHOLS and Assistant Principal MS. BERRIEN, and
School Psychologist WINSTON HALL Freshman Counselor SANDRA SLOANE,
Teacher MS. STEPHANIE DAVIS, were indifferent to the conduct Defendant
DUSTIN BERRIEN was imposing upon the minor Plaintiff, as evidence by
Defendant DUSTIN BERRIEN being permitted to interact with the minor Plaintiff
after her complaints were made known.

That on or about October 30, 2002, and at all times relevant, a report was prepared
by the Chicago Police Department and/or the School Security regarding DUSTIN
BERRIEN’s inappropriate and/or sexual conduct directed at the minor Plaintiff.

That on or about September 3, 2002, and at all times relevant, the Defendants
owed a duty to protect, the minor Plaintiff from known and unknown harm, and to
provide her with an education without being subjected to sexual discrimination,
under tilinois common law, the Illinois Constitution and Titie [X.

That on or about September 3, 2002, and thereafter, at all times relevant,
Defendants, CHICAGO PUBLIC SCHOOLS and FENGER HIGH SCHOOL, and
each of them, breached their duty in one or more of the following negligent
respects:

a. Allowed Defendant DUSTIN BERRIEN to have access to the minor Plaintiff,
BRIANNA JENKINS after leaming of his inappropriate and/or sexual
advances toward her and other students; and/or

b, Allowed and/or Placed Defendant DUSTIN BERRIEN as substitute teacher
over the minor Plaintiff, BRIANNA JENKINS after learning of his
inappropriate and/or sexual advances toward her and other students; and/or

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' , Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 44 of 50 PagelD #:44

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Cc. Allowed and/or Placed Defendant DUSTIN BERRIEN to remove BRIANNA
JENKINS from class after learning of his inappropriate and/or sexual
advances toward her and/or other students; and/or

d. Was otherwise negligent.

21. As adirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s}, BRIANNA JENKINS sustained injuries
of an emotional, personal, pecuniary and permanent nature.

22. As adirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendant(s), BRIANNA JENKINS was deprived of an
educational opportunity and/or benefit in a number of ways, including being
removed from class, being unable to participate and gain benefit from her
educational classes.

23. As adirect and proximate result of one or more of the aforedescribed acts and/or
omissions on the part of the Defendants, DONNELL DAVIS incurred expenses for
which he is entitled to reimbursement.

WHEREFORE, Plaintiff BRIANNA JENKINS, by and through her father and next
friend, DONNELL DAVIS, demand that judgment be entered against Defendant(s) in an
amount in excess of FIFTY THOUSAND DOLLARS ($50,000.00).

RESPONDENTS IN DISCOVERY
That pursuant to 735 ILCS 5/2-402, Plaintiffs name:
JANIGE OLLARVIA, MR. EUGENE HENRY, MS. NICHOLS, MS. BERRIEN,
WINSTON HALL, DONDELAYO WHITE, SANDRA SLOANE, and MS. STEPHANIE DAVIS
as Respondents in Discovery, whom she believes has information essential to the

determination of who should properly be named as Defendants in this case.

POWER ROGERS f SMITH, P.C.

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By: |

Firm |.D. No. 31444 ©

Larry R. Rogers, Jr.

Attorney for Plaintiffs

POWER ROGERS & SMITH, P.C.
70 West Madison Street, 55th Floor
Chicago, Illinois 60602

Telephone: (312) 236-9381

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Firm LD, No. 31444/JENKINS (5241)/LBRJ/adm

STATE OF ILLINOIS }
}S5.
COUNTY OF COOK )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

BRIANNA JENKINS, a Minor, by her Father and
Next Friend, DONNELL JENKINS,
Plaintiffs,

«Yr

BOARD OF EDUCATION OF THE CITY OF No.
CHICAGO, a body politic and corporate, d/b/a
Chicago Public Schools, individually, and by
and through its agents, servants or
employees at Fenger High School, and JURY DEMAND
FENGER HIGH SCHOOL, Individually, and
by and through its agents, servants, or
employees, and/or employer of
DUSTIN BERRIEN; and DUSTIN BERRIEN,
individually,

Defendants
JANICE OLLARVIA, MR. EUGENE HENRY, MS.
NICHOLS, MS. BERRIEN, and WINSTON HALL,
DONDELAYO WHITE, SANDRA SLOANE, MS.
STEPHANIE DAVIS,

Respondents-in-Discovery.

AFFIDAVIT
|, LARRY R. ROGERS, JR., upon oath, deposes and states the following:

1. That { am one of the attorneys for the Plaintiff, BRIANNA JENKINS, A Minor, by her
Father and Next Friend, DONNELL DAVIS, in the above-entitled cause of action.

2. That upon information and betief, the money damages in this cause of action will exceed
$50,000.00.

POWER ROGERS & SMITH P.C,

w (Mrraaid ‘Z| os S

__LARRY R. ROGERS, JR.

 
 

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Law OFFICES

 

Three First National Pla
70 West Madison Street
55% Floor, Chicago
Tiineis 60602-4212
TEL: 312-236-938)

POWER ROGERS & SMITH, F.C. FAX: 312-236-0920

rw, prstaw.com

Joseph A. Power, dr.
Larry R. Rogers
Todd A. Smith
Thomas G. Siracusa
Thomas M, Power
Larry R. Rogers, fr.
Devon C. Bruce
Joseph W. Balesteri

TELECOPIER TRANSMISSION Kenneth J. Merlino

Sean M. Heuliban

 

 

 

 

   

 

 

Fax: 312-238-0920
Telephone; 312-236-9381 (Ext.

 

 

 

 

 
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55" Floor, Chicago

LAW OFFICES Iinois 60607-4712
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POWER ROGERS & SMITH, B.C. FAX: 312-236-0926

We pray, Cont

Joseph A, Power, Jr.
Larry R. Rogers
Todd A, Smith
Thomas G, Siracusa
Thomas M. Power
Larry RK. Hogers, Jr.
Devon C. Bruce
Joseph W. Balesteri

TELECOPIER TRANSMISSION Kenneth J. Mertino

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Case: 1:03-cv-07428 Document #: 1 Filed: 10/21/03 Page 48 of 50 PagelD #:48
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

Tn the Matter of Q) 3 C “q 4 9
BRIANNA JENEINS, by her father and 8

Case Number:
next friend, DONNELL DAVIS,
Judge

ve Plaintiff, JUDGE HART -
BOARD OF EDUCATION OF THR DOCKE TE, ED ma

CITY OF CHICAGO, . OCT 2 8 amy STRATE JUDGE ASHMAN © oe S/S

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR: o oS ?
BOARD OF EDUCATION OF THE CITY OF CHICAGO, DEFENDANT oe
(A) (B)
SIGNATURE 7 x SIGNATLIAE Mt ~ . of. tien
NAME Joseph D. Gerggni “AME William A. Mor 7
TERM Board of Education of the City of Chicago ARM Board of Tiducation of the City of Chicago
STREET ADRESS 195 South Clark Street, 7th Floor STREET ADORESS 135 South Clark Street, 7th Floor
cTyStare2i Chicago, Mhinois 60603 CTVATATEZIT Chicago, Hinois 60603
TELEPHUNE NUMBFR (773) $53-1700 TELEPHONE NUMBER (773) 553-1700
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TRIAL. ATTORNEY? y NO oO TRIAL AYTORMEY? YES a NO
DRSIGNATRD AS LOCAL. COUNSEL? YES O NO
(C) Mm)
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. MAGISTRATE JUDGE ASHIAN
STRICT COURT
STRICT OF ILLINOIS coon
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UNITED STATES
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{ (a) - PLAINTIFFS DEFENDANTS
Bianna Jenking, by her father and a (Board of Education of the City of a
mext friend DONNELL DAVIS ons Chicago, et al.,
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we ee ee m3 a
bh) - County of Residence of First Listed Plaintiff C ounty oF Residence of First Listed Defendant
(Except in U.S, Plaintiff Casas) {In U.S, Plaintiff Cases Oniy)
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Address: [70 W. Madison St., Suite 5500 | Address: [125 S. Clark 8t., Suite 700
Phone: Phone: me
(773) 563-1 700

 

 

 

 

   

 

 

 

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[3. Federal Question es 3. not & Party) i

 

 

 

IV, Origin
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[1. Original F Proceeding * "a
V. Nature of Suit (Select one © box)
Contract Torts Other Statutes

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Ci 126 Marine
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{7 193 Recovery of VA Benefits
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Real Property

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Property Rights

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Personal Injury

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Forfeiture/Penalty

{> 610 Agricuiture
620 Other Food & Drag

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Property 2! USC 881

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660 Occupational Safety/Health
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Personal Injury

€) 362 Med, Malpractice

Co 365 Personal injury = Product
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Product Liability
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7 471 Truth in Lending

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Prisoner Petitions

{7 510 Motions to Vacate Sentence
Habeas Corpus:

C: 630 Habeas Corpus General

€) $34 Habeas Death Penalty

( $40 Mandamus & Other

(7 §80 Civil Rights

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7 710 Fair Labor Standards Act
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CO 190 Other Labor Litigation
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© 440 Antitrust

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(7) 460 Deportation

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> 810 Selective Service

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() 892 Economic Stabilization Act
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VI Cause of Action (crre THE U, §. STATUTE UNDER WIIICH VOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT
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